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I.           INTRODUCTION
       This case is about whether a reasonable consumer would consider ingredients like

cetearyl alcohol, calcium carbonate and cheaper synthetic versions of natural substances to be

“natural.”

       Defendant Weleda, Inc., sells personal care products bearing one of two representations:

that the product is “natural,” or “Certified Natural.” Mr. Hughes, the plaintiff, has alleged in

great detail why many of the ingredients in the products cannot be considered “natural.”

       In its motion to dismiss plaintiff’s claims, Weleda attacks plaintiff’s “class standing” in

an attempt to narrow the case from the list of forty-one products which plaintiff claims have

synthetic ingredients to the two products purchased by Mr. Hughes. However, under Second

Circuit law, a plaintiff has class standing if the products are “sufficiently similar” and the

plaintiff’s claims invoke the “same set of concerns” as do the unpurchased products. Here, all

the products have one of two representations, so the concerns are identical.

       Next, Weleda attacks the allegations concerning the ingredients Mr. Hughes believes are

not natural. Mostly, Weleda makes factual arguments that are more suited for summary

judgment or trial, or argues that plaintiff is required to cite regulations that prove his claims.

These attacks are largely irrelevant at the pleading stage and plaintiff has provided more than

enough detail under Iqbal and Twombly.

       Third, Weleda argues that plaintiff has not stated claims for breaches of federal and state

warranties and has no standing to seek injunctive relief. On these issues, however, the weight of

authority favors Mr. Hughes.

II.          LEGAL STANDARDS

       A motion to dismiss under Rule 12(b)(6) enables the court "merely to assess the legal

feasibility of the complaint, not to assay the weight of the evidence which might be offered in

                                                   1
support thereof." Szymczak v. Nissan N. Am., Inc., No. CV 7493, 2011 U.S. Dist. LEXIS 153011,

at *18 (S.D.N.Y. Dec. 16, 2011). When deciding a motion to dismiss, the Court must accept all

well-pleaded allegations as true and draw all reasonable inferences in favor of the pleader.

Hishon v. King, 467 U.S. 69, 73 (1984). The claims must contain the grounds upon which the

claim rests through factual allegations sufficient "to raise a right to relief above the speculative

level." Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). Further, a plaintiff is obliged to

buttress its claims with factual allegations that allow the court to draw the reasonable inference

that defendant is liable for the conduct alleged. Ashcroft v. Iqbal, 556 U.S. 662, 129 (2009). The

Supreme Court cautioned that “a well-pleaded complaint may proceed even if it strikes a savvy

judge that actual proof of those facts is improbable, and ‘that a recovery is very remote and

unlikely.’” Twombly at 556.

       For a 12(b)(1) motion the issue is the court’s subject matter jurisdiction and whether the

court “lacks the statutory or constitutional power to adjudicate it.” Cortlandt Street Recovery v.

Hellas Telecom., 790 F.3d 411, 416-17 (2d Cir. 2015). The burden to demonstrate jurisdiction

falls on the plaintiff. Sitt v. Nature's Bounty, Inc., No. 15-CV-4199 (MKB), 2016 U.S. Dist.

LEXIS 131564, at *6 (E.D.N.Y. Sep. 26, 2016). Like a 12(b)(6) motion, the Court must assume

the truth of well-pleaded allegations. Hacocha v. Nestle Purina Petcare Co., No. 15-CV-5489,

2016 U.S. Dist. LEXIS 107097 at *28 (Aug. 12, 2016) (noting that the same standard of review

applies to 12(b)(1) and 12(b)(6) motions).

III.       MR. HUGHES HAS CLASS STANDING

       Article III standing, which is not at issue here, is distinct from class standing. “[O]nce

there is at least one named plaintiff for each named defendant “who can assert a claim directly

against that defendant, …[Article III] standing is satisfied, and only then will the inquiry shift to



                                                  2
a class action analysis”. In re Frito-Lay North America, Inc., No. 12-MDL-2413, 2013 U.S.

Dist. LEXIS 123824 at *38 (E.D.N.Y. Aug 29, 2013) (quoting Cent States Se & Sw Areas Health

and Welfare Fund v. Merck-Medco Managed Care, LLC, 504 F.3d 229, 241 (2d Cir. 2007)).

        Plaintiff purchased the Weleda Calendula Toothpaste and the Weleda Men Active

Shower Gel. See Plaintiff’s Complaint dated April 6, 2017 (“Comp.”) ¶ 31. The container of the

toothpaste reads “natural oral protection.” The container of the shower gel reads “Certified

Natural Body Care.” Comp. ¶ 6. There is no question that Mr. Hughes has Article III standing

to assert claims concerning the alleged misrepresentations on those two specific products. The

question raised by Weleda’s 12(b)(1) motion is whether he has standing to assert claims on

behalf of the purchasers of the other Weleda products bearing identical misrepresentations. The

answer is yes.

        The parties agree that NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co.,

693 F.3d 145 (2nd Cir. 2012) is the Second Circuit’s leading case on the issue of class standing.

Def. Br. 1 at 6.

        NECA-IBEW concerned the purchase of mortgage-backed securities sold by 17 different

trusts in 17 separate offerings. The district court concluded that the plaintiff only had standing to

bring claims on behalf of investors who purchased securities from the same two trusts the

plaintiff did. The Second Circuit reversed and set forth a two-part test for “class standing”:

                   Plaintiff has suffered actual injury as a result of the defendant’s conduct; and that
                   the defendant’s conduct implicates the same set of concerns as the conduct
                   alleged to have caused injury to other members of the putative class by the same
                   defendant.




1
 “Def. Br.” refers to the Memorandum of Law in Support of Defendant Weleda, Inc.’s Motion to Dismiss Plaintiff
Russell’s Complaint dated January 8, 2018.

                                                       3
Id. at 162. The first prong is not at issue here. For the second prong, Mr. Hughes’ claims are

based on the two representations that are identical to those Weleda made to the rest of the class,

and thus implicate the “same concerns” and are “sufficiently similar” to the claims of purchasers

of the other products.

    A.     Mr. Hughes’ Claims Implicate The “Same Set of Concerns” And Are “Sufficiently
                Similar” To Those Of Consumers Of Products He Did Not Purchase.
         As this Court noted in Bautista v. Cytosport, Inc., 223 F. Supp. 3d 182, 188 (S.D.N.Y.

2016), “subject to further inquiry at the class certification stage, a named plaintiff has standing to

bring class action claims under state consumer laws protection for products that he did not

purchase, so long as those products, and the false and deceptive manner in which they were

marketed, are sufficiently similar to the products that the named plaintiff did purchase.”

(citations and internal quotation marks omitted). See also Quinn v. Walgreen Co., 958 F. Supp.

2d 553, 541 (S.D.N.Y. 2013) ("The majority of the courts that have carefully analyzed the

question hold that [standing exists] so long as the products and alleged misrepresentations are

substantially similar.”) (citing Brown v. Hain Celestial Grp., Inc., 913 F. Supp. 2d 881, 890

(N.D. Cal. 2012)); Jovel v. I-Health, Inc., No. 12-CV-5614, 2013 U.S. Dist. LEXIS 139661 at

*29 (E.D.N.Y. Sep. 27, 2013) (“The critical inquiry seems to be whether there is sufficient

similarity between the products purchased and not purchased.”) (internal quotation omitted).

         Most courts have found food and cosmetic products that make similar representations on

their labels across product lines “sufficiently similar” to satisfy class standing at the pleading

stage. See NECA-IBEW at 162 (courts should examine the “nature and content of the specific

misrepresentations alleged in determining class standing.”).

         In Buonasera v. Honest Co., 208 F. Supp. 3d 555 (S.D.N.Y. 2016), the plaintiff

purchased two of 41 hair care products at issue. The representations on the containers were


                                                  4
“natural”, “all natural”, “naturally derived”, “plant based” and/or “containing no harsh chemicals

ever!”. The representations the plaintiff relied upon were only the “natural” and “no harsh

chemicals ever!” representations. Id. at 559. After reviewing the Second Circuit’s decisions in

NECA-IBEW and DiMuro v. Clinique Labs., LLC, 572 Fed. App’x 27 (2d Cir. 2014), the court

concluded “Although the unpurchased products may contain different ingredients compared to

the purchased products…the misrepresentations claimed with respect to the unpurchased

products is sufficiently similar to the misrepresentation for the purchase products.” Buonasera

at 563.

          Quinn involved six glucosamine supplements with two similar, but not identical,

representations concerning the products’ supposed ability to rebuild cartilage. The six products

also “var[ied] in formulation, strength and quantity.” Id. at 537. The court found that the

“nearly identical” alleged misrepresentations on the label of the supplements sufficed for class

standing. Id. at 542 (following reasoning of Cardenas v. NBTY, Inc., 870 F. Supp. 2d 984, 992

(C.D. Cal. 2012), where plaintiff purchased one of eight products at issue). See also Jovel at 28-

31(class standing found where similar brain health benefits touted on labels of different

products); Brady v. Basic Research, LLC, 101 F. Supp. 3d 217, 227-29 (E.D.N.Y. 2015)

(applying NECA-IBEW and denying 12(b)(1) motion where the unpurchased product had a

different name and label, but was allegedly the same as purchased products but in powder form).

          In Nestle Purina the court considered a more difficult issue; whether plaintiff had

standing to assert claims concerning representations that he did not see, but that were similar to

those he did.

          In a thorough decision, Judge Karas cited NECA-IBEW and concluded that differences in

the advertisements of a line of dog treats that featured bacon did not eliminate subject matter



                                                   5
jurisdiction “particularly when the Second Circuit [in NECA-IBEW] did not find variation in risk

profiles, interest rates, maturity, and subordination sufficient” to dismiss a securities class action.

Nestle Purina at 39.

       Mr. Hughes has standing to assert claims on behalf of products he did not purchase

because the two alleged misrepresentations on the products, “natural” and “Certified Natural”,

are not just “substantially similar,” but identical. Accordingly, with only two representations at

issue here, both of which Mr. Hughes relied upon, the Court should find that he has class

standing.

   B. The Issue Of Class Standing Should Be Addressed At The Class Certification Stage
       The analysis for class standing significantly overlaps the typicality, commonality and

adequacy requirements under Rule 23. See, e.g., Kurtz v. Kimberly-Clark Corp., 321 F.R.D. 482,

543 (E.D.N.Y. 2017) (finding class standing at class certification stage “for the same reason’s

[plaintiff’s] claim is typical”); Forcellati v. Hyland’s Inc., 876 F. Supp. 2d. 1155, 1161 (C.D.

Cal. 2012) (“The weight of authority views this issue under the lens of typicality or adequacy of

representation, rather than standing.”) (internal quotations omitted)

       As long as Article III standing exists, many courts defer the class standing analysis to the

class certification stage. Indeed, the Buonasera court, which undertook a class standing analysis

at the pleading stage, acknowledged that “[m]any lower courts have construed the Second

Circuit’s findings in NECA-IBEW Health and Welfare Fund and DiMuro to indicate that the

issue of class standing should not be resolved on a motion to dismiss but rather on a motion for

class certification.” Buonasera at 563 (collecting cases).

       Further, at least two courts interpret NECA-IBEW as limiting the inquiry at the pleading

stage to Article III standing and requiring the class standing analysis to wait until class

certification. In Segovia v. Vitamin Shoppe, Inc., No. 14-CV-7061, 2016 U.S. Dist. LEXIS 15171

                                                   6
(S.D.N.Y. Feb. 5, 2016) the court held that the question of whether plaintiffs could represent

purchasers of a dietary supplement with “nearly identical” representations “must, under NECA-

IBEW, be addressed at class certification.” Id. at *7-8 (emphasis added). Further, in Frito-Lay,

2013 U.S. Dist. LEXIS 123824 *40, the court stated that “NECA-IBEW thus instructs that,

because plaintiffs have satisfied the Article III standing inquiry, their ability to represent putative

class members who purchased products plaintiffs have not themselves purchased is a question

for a class certification motion.”).

        While not requiring the deferral, many other courts have taken the same view. See

Manier v. L’Oreal U.S.A., Inc., No. 16-cv-6593, 2017 U.S. Dist. LEXIS 116139 (S.D.N.Y. July

17, 2017) (citing NECA-IBEW and holding defendant’s challenge to class standing appropriately

addressed at class certification, not pleading, stage); Atik v. Welch Foods, Inc., No. 15-CV-5405,

2016 U.S. Dist. LEXIS 136056 *23 (E.D.N.Y. Sept. 30, 2016) (holding plaintiffs have no burden

to establish class standing at pleading stage); Reid v. GMC Skin Care USA Inc., No. 8:15 -cv-

277, 2016 U.S. Dist. LEXIS 14001 at *14 (N.D.N.Y. January 15, 2016) (citing NECA-IBEW and

Frito-Lay and finding that class standing issue premature at pleading stage); Quinn at 541

(“Accordingly, such courts routinely deny Rule 12(b)(1) motions to dismiss and, instead, reserve

the [class] standing analysis until a motion for class certification.”); Forcellati at 1161 (“We

agree with the numerous recent decisions that have concluded that Defendants’ [class standing]

argument is better taken under the lens of typicality or adequacy of representation, rather than

standing.”); Cardenas at 992 (question of whether plaintiff could represent purchasers of seven

other products solely a Rule 23 question).




                                                   7
   C.    Differences In The Ingredients Do Not Defeat Class Standing
        Defendant argues that there are different ingredients in the products. Def. Br. at 1. This

is true. They would not be different products if they had the same ingredients and the 12(b)(1)

analysis would not be necessary.

        Differences in ingredients do not mean that the products are not “sufficiently similar,”

especially where the representations are the same across products. See Buonasera, 208 F. Supp.

3d at 563 (“Although the unpurchased products may contain different ingredients compared to

the purchased products … the Amended Complaint adequately alleges that the

misrepresentations claimed with respect to the unpurchased products is sufficiently similar to the

misrepresentation for the purchased products.”); Reid at *5-6 (issue of class standing should

await class certification where skin care product contained at least four distinct active ingredients

from other product in same line); Atik at *4-7, 23 (ingredients varied greatly among products but

no showing of class standing necessary at pleading stage); see also Astiana v. Dreyer's Grand Ice

Cream, Inc., No. C-11-2910, 2012 U.S. Dist. LEXIS 101371 at *13 (N.D. Cal. July 20, 2012)

(fact that different ice creams have different ingredients is "not dispositive as Plaintiffs are

challenging the same basic mislabeling practice across different product flavors").

   D.    DiMuro Is Distinguishable
        Defendant’s class standing argument rests almost entirely on the Second Circuit’s

decision in DiMuro v. Clinique Labs., LLC, 572 Fed. App’x 27 (2d Cir. 2014), which defendant

characterizes as “binding” Second Circuit law. Def. Br. at 1.

        On the continuum of fact patterns that courts have examined to determine class standing,

DiMuro is an outlier. In a summary order, the Second Circuit noted in DiMuro that “each of the

seven products have different ingredients, and [defendant] Clinique made different advertising

claims for each product. Entirely unique evidence will, therefore, be required to prove that the

                                                   8
35-some advertising statements for each of the seven different Repairware products are false and

misleading.” Id. at *29.

        The DiMuro court distinguished these cumbersome facts from the “nearly identical”

misrepresentations in NECA-IBEW. DiMuro at 29. In this case, there are two advertising

statements, not 35. Mr. Hughes’ claims are much closer to the “nearly identical” representations

in NECA-IBEW than the “35-some” in DiMuro.

        Cases that have similar allegations to those of Mr. Hughes have distinguished DiMuro on

similar grounds. See Segovia at * 8 (distinguishing the numerous different advertising statements

in DiMuro from the “nearly identical ones” at issue); Buonasera at 563 (distinguishing DiMuro

and Hart v. BHH, LLC, No. 15-cv 4804, 2016 U.S. Dist. LEXIS 59943 * 10 (S.D.N.Y. May 5,

2016), and finding products labeled “natural” and “no harsh chemicals” were sufficiently similar

to “all-natural,” “naturally derived,” and “plant based”); Brady, 101 F. Supp. 3d at 228 n.5

(distinguishing DiMuro on similar grounds); Nestle Purina at 38-39 (same). 2

        Accordingly, based on the differences among the “35-some” statements, DiMuro is easily

distinguishable from this case.

IV.          PLAINTIFF HAS PLEADED THAT THE PRODUCTS
             ARE NOT “NATURAL” IN SUFFICIENT DETAIL

        Defendant makes two primary arguments why it believes Mr. Hughes has not adequately

alleged that the Weleda products are not “natural.” First, that plaintiff improperly relies upon the

definition of “synthetic” in the Organic Foods Production Act (OFPA), or has otherwise not




2
 Where DiMuro has been followed it has been where the products were “distinct and serve[d] different purposes.”
Hart at *10 (citing DiMuro in support of conclusion that plaintiff lacked class standing).



                                                       9
identified specific federal regulations that state that some of the challenged ingredients are

synthetic; and second, that plaintiff has not provided enough detail in his allegations.

        As a threshold matter, this case is not about whether the defendant did or did not comply

with any particular statute or regulation. It is about whether a reasonable consumer would find

defendant’s representations that its products are “natural” or “Certified Natural” to be false or

misleading.

        Mr. Hughes alleges that the term “natural” means that a product does not contain

synthetic ingredients. His understanding of the term “synthetic” is that it means a substance that

is formulated or manufactured by a chemical process or by a process that chemically changes a

substance from naturally occurring plant, animal, or mineral sources. Comp.¶ 31. This

understanding comports with the definition in OFPA, but Mr. Hughes’ claims do not rely on a

violation of the statute itself as a basis for his claims.

        Accordingly, like that of the defendant in Ault v. J.M. Smucker Co., No. 13 Civ. 3409,

2014 U.S. Dist. LEXIS 67118 (S.D.N.Y. May 15, 2014), Weleda’s discussion of federal

regulations at Def. Br. 9-19 largely “misses the mark.” Ault. at *18. In Ault, the court rejected

the defendant’s argument that reasonable consumers could not be misled by a “natural” label

because of FDA policy and federal regulations. See also Ackerman v. Coca-Cola Co., No. CV-

09-0395, 2010 U.S. Dist. LEXIS 73156, at *61 (E.D.N.Y. July 21, 2010) (accurate FDA-

mandated label on box does not insulate defendant from liability for deceptive marketing);

Williams v. Gerber Prods. Co., 552 F.3d 934, 940 (9th Cir. 2008) (“Gerber makes no argument

as to how compliance with certain FDA regulations would automatically shield it from liability

under these California statutes or tort claims.”).

       It is sufficient for Iqbal and Twombly purposes that plaintiff has described his



                                                     10
understanding of the term “natural” and alleged which ingredients do not meet this description.

Plaintiff offers a description of the chemistry and manufacturing processes for the ingredients at

issue in the case, but this is not required at the pleading stage, nor have any courts held that such

specificity is required. See, e.g., Sitt v. Nature's Bounty, Inc., No. 15-CV-4199 (MKB), 2016

U.S. Dist. LEXIS 131564, at *40-44 (E.D.N.Y. Sep. 26, 2016) (claim stated where plaintiff

alleged “natural” product contained magnesium stearate); Segedie v. Hain Celestial Grp., Inc.,

No. 14-cv-5029 (NSR), 2015 U.S. Dist. LEXIS 60739 at *30 (S.D.N.Y. May 7, 2015) (“[I]t is

enough that Plaintiffs allege that “natural” communicates the absence of synthetic ingredients.”);

Aguiar v. Merisant Co., No. 14-00670, 2014 U.S. Dist. LEXIS 165301 at *10 (C.D. Cal. March

24, 2014) (finding that allegations that ingredients isomaltulose and dextrose were “synthetic” as

term used in dictionary required “no further factual enhancements” to state claim); Janney v.

General Mills, No. 12-cv-03919, 2014 U.S. Dist. LEXIS 41452 *9 (N.D. Cal. Mar. 26, 2014)

(claim stated where plaintiff alleged “natural” product continued high fructose corn syrup, high

maltose corn syrup and maltodextrin); Jou v. Kimberly-Clark Corp., 13-03075 JSC, 2013 U.S.

Dist. LEXIS 173216, at *5-8 (N.D. Cal. Dec. 10, 2013) (claim stated where plaintiff alleged

"pure & natural” product contained polypropylene and sodium polyacrylate).

       Indeed, the question of whether a reasonable consumer would likely be deceived by the

terms “natural” or “Certified Natural” is a factual one and cannot be decided on a motion to

dismiss. See Frito-Lay at 48 (“What a reasonable consumer would believe the term “natural” to

mean on a food label cannot be resolved on this motion [to dismiss]”); Buonasera at 566

(whether natural and related misrepresentations are misleading to a reasonable consumer is a

question of fact “better suited to the jury.”); Hidalgo v. Johnson & Johnson Consumer Cos., Inc.,

148 F. Supp. 3d 285, 295 (S.D.N.Y. 2015) ("[U]sually [the reasonable consumer] determination



                                                 11
is a question of fact.") (quoting Goldemberg v. Johnson & Johnson Consumer Cos., 8 F. Supp.

3d 467, 478 (S.D.N.Y. 2014)); Segedie at *30 (S.D.N.Y. May 7, 2015) (same, regarding

“natural” label); Ackerman at *67 (denying motion to dismiss); Vicuna v. Alexia Foods, Inc., No.

11-CV-6119, 2012 U.S. Dist. LEXIS 59408 at * 5 (N.D. Cal. Apr. 27, 2012) (meaning of term

“All Natural” to reasonable consumer cannot be decided on motion to dismiss).

         Nonetheless, Plaintiff has gone far beyond the detail needed to state a claim by describing

the technical or legal basis for his allegations that each ingredient is not natural. Comp.¶ 7.

Although the composition and manufacturing processes used to produce the ingredients at issue

will be established during discovery, a brief rebuttal of Weleda’s regulatory and chemical

discussion is in order. 3

    A.       Claims Concerning Benzyl Benzoate, Citral, Citronellol,
             Farnesol, Geraniol, Limonene, And Linalool
         Weleda claims that benzyl benzoate, citral, citronellol, farnesol, geraniol, limonene, and

linalool are not synthetic because they are “naturally occurring.” Def. Br. at 12-17. That is true

as an isolated general statement. These ingredients do, in fact, occur in nature. But plaintiff

alleges that the ingredients used in Weleda’s products are the synthetic variants of these

ingredients, not the “naturally occurring” ones (which in general are prohibitively expensive to

distill, in any case). Comp.¶ 7 (f), (g), (j), (k), (l), (m), (o).

         Similarly, Weleda claims that it modifies these listed ingredients with the phrase “from

natural essential oils” on the labels, Def. Br. at 13-17. But it does not disclose that the

ingredients it uses are actually chemically synthesized. In any case, it is well settled that on-

product ingredient disclosures do not insulate defendants from liability stemming from otherwise


         3
            Defendant does not challenge plaintiff’s allegations concerning coco glucoside, glycerin, glyceryl
stearate, glyceryl stearate SE, glyceryl stearate citrate, stearic acid, xanthan gum or zinc oxide.


                                                          12
misleading affirmative statements. This is because reasonable consumers are not expected to

scour a label to ensure that product representations are not false. See Hughes v. Ester C Co., 930

F. Supp. 2d 439, 464 (E.D.N.Y. 2013); (“[R]easonable consumers should [not] be expected to

look beyond misleading representations on the front of the box to discover the truth from the

ingredient list in small print on the side of the box.”).

Accordingly, Weleda has sufficient notice of the claims concerning these ingredients under Iqbal

and Twombly.

    B. Claims Concerning Lactic Acid
        Like the chemicals described above, lactic acid can be found in nature. The natural

version is not synthetic. But again, plaintiff has alleged that defendant is using the synthetic

version in its products. Comp.¶ 7(a). The cited regulation, 21 C.F.R. § 184.1061(a), includes a

description of the manufacture of the synthetic version (“formation of lactonitrile from

acetaldehyde and hydrogen cyanide and subsequent hydrolysis to lactic acid.”). Weleda has

more than enough detail here to defend this claim.

    C. Claims Concerning Sodium Bicarbonate
        Defendant claims that plaintiff has not stated a claim with respect to sodium bicarbonate

because the regulation cited by plaintiff does not use the word “synthetic.” Def. Br. at 19.

However, Plaintiff describes the chemically complex manufacturing process that is used to

produce sodium bicarbonate and cites to the regulation where that process is set forth, 21 C.F.R.

§184.1736. Comp.¶ 7(q). Accordingly, Weleda cannot plausibly argue it does not have “fair

notice” of plaintiff’s claim that sodium bicarbonate is not “natural.”

    D. Claims Concerning Citric Acid

        Weleda claims that citric acid is nonsynthetic because the USDA classifies citric acid

which is “produced by microbial fermentation of carbohydrate substances” as such. Def. Br. 10-

                                                   13
11. However, plaintiff has alleged in more than sufficient detail to support his allegation that

citric acid is not natural based on how it is produced and manufactured, since citric acid is “no

longer extracted from the citrus fruit but industrially manufactured by fermenting certain

genetically mutant strains of the black mold fungus, Aspergillus niger.” See Comp.¶ 7 (b).

    E. Claims Concerning Cetearyl Alcohol
         Cetearyl alcohol is a mixture of multiple components, mostly cetyl alcohol and stearyl

alcohol. 4 Defendant points out that cetearyl alcohol is not mentioned in the regulation plaintiff

cites, Def. Br. 17. Plaintiff cites 21 C.F.R. §172.515 which lists cetyl alcohol, one of the main

ingredients in cetearyl alcohol, as “synthetic.” This is more than sufficient detail to provide

Weleda with notice of the claim.

    F. Claims Concerning Calcium Carbonate
         Defendant argues that plaintiff’s claims that calcium carbonate is not natural must be

dismissed because plaintiff has not cited a federal regulation which says so. Def. Br. 18.

However, this case is not about compliance or noncompliance with federal regulations; it is

about misleading consumers. Plaintiff has described the manufacturing process which he

believes renders calcium carbonate not “natural.” Comp.¶ 7(n). This is sufficient detail to state a

claim.

    G. Claims Concerning Tocopherol
         Plaintiff lists tocopherol as one of the ingredients in the Active Shower Gel product that

Mr. Hughes purchased, Comp.¶ 6, and alleges that all of the listed ingredients in the Weleda

products are synthetic. Comp.¶ 7. Those allegations are sufficient to state a claim. Plaintiff

describes why tocopherol (acetate), a variant of tocopherol, is also synthetic. Comp.¶ 7(e).


4
  Although addressed by Weleda at Def. Br. at 17, plaintiff has not alleged stearyl alcohol as a stand-alone ingredient
in defendant’s products. Plaintiff also concedes that he has not identified a product containing calcium chloride.
See Def. Br. 17.

                                                          14
Whether defendant’s products include tocopherol or the acetate derivative is a matter for

discovery. 5

V.               PLAINTIFF HAS ADEQUATELY ALLEGED THAT THE “CERTIFIED
                     NATURAL” REPRESENTATION MISLEADS CONSUMERS

         Plaintiff has adequately stated a claim that Weleda’s “Certified Natural” representation

misleads consumers. See, e.g., Comp.¶¶ 2-3, 6-15. Defendant does not move to dismiss this

allegation and does not mention it other than to briefly describe the bona fides of the certifying

organization, NATRUE. 6 Def. Br. 1. However even if literally true, a representation can

mislead consumers. See Atik v. Welch Foods, Inc., 2016 U.S. Dist. LEXIS 136056 at *30-31

(E.D.N.Y. Sep. 30, 2016) (plaintiff stated claim under GBL § 349 even though representations

were not “literally false.”). In this case, Plaintiff has alleged that the “Certified Natural”

representation leads consumers to believe Weleda’s products do not contain synthetic

ingredients.

VI.          PLAINTIFF HAS STATED CLAIMS FOR BREACHES OF WARRANTIES

      A. Plaintiff Has Stated A Claim For Breach Of Express Warranty.

         Weleda argues that Plaintiff’s express warranty claim under New York law must fail

because Mr. Hughes is not in privity with Weleda. Def. Br. at 20.

         Under New York state law, privity is not required to assert a claim for breach of express

warranty where only economic damages are alleged or where plaintiff challenges public

misrepresentations such as labels on products. Sitt v. Nature's Bounty, Inc., No. 15-CV-4199


5Plaintiff did not intend to “impugn” the reputation of tocopherol. Def. Br. 12, n.6. Tocopherol is a widely
respected and valuable chemical, and sometimes used as an antioxidant. But, as plaintiff alleges, it is synthetic here.
6
 NATRUE uses four categories to describe ingredients: Natural, Nature derived, Nature identical, and Synthetic.
While these categories may not comport with the understanding of a reasonable consumer, taking plaintiff’s
allegations as true at this stage, none of the challenged ingredients belong in NATRUE’s “Natural” category under
NATRUE’s definition.

                                                          15
(MKB), 2016 U.S. Dist. LEXIS 131564, at *52-54 (E.D.N.Y. Sep. 26, 2016). Both those

circumstances are present here.

       First, as acknowledged by the court in Sitt and in Mahoney v. Endo Health Solutions,

Inc., No. 15-CV-9841, 2016 U.S. Dist. LEXIS 94732 (S.D.N.Y. July 20, 2016), the New York

Court of Appeals has long since dispensed with the privity requirement where the plaintiff seeks

only economic damages. Mahoney at *16-19 (citing Randy Knitwear, Inc. v. Am. Cyanamid Co.,

11 N.Y.2d 5, 16 (1962), Jesmer v. Retail Magic, Inc., 863 N.Y.S.2d 737, 739 (2d Dep't. 2008)

and Murrin v. Ford Motor Co., 756 N.Y.S.2d 596, 597 (2d Dep't. 2003)).

       Here, Mr. Hughes is only seeking economic damages. Comp.¶ 32.

       Second, courts have held that where plaintiff challenges a representation made by a

defendant on a product label or advertisement, the plaintiff need not be in privity with the

defendant. See Goldemberg, 8 F. Supp. 3d at 482 (holding with respect to natural” label, "A

buyer may bring a claim against a manufacturer from whom he did not purchase a product

directly, since an express warranty may include specific representations made by a manufacturer

in its sales brochures or advertisements.”); Brady at 235 (express warranty claim based on

challenge to supplement labels upheld); Weisblum v. Prophase Labs, Inc., 88 F. Supp. 3d 283,

295 (S.D.N.Y. 2015) (breach of warranty claim based on challenges to advertising and product

packaging of cold remedy upheld) (citing Prue v. Fiber Composites, LLC, No. 11-CV-3304, No.

11-CV-3304, 2012 U.S. Dist. LEXIS 54027 (E.D.N.Y. Apr. 17, 2012)).

      Here, plaintiff is challenging representations on the labels of the products. Comp.¶¶ 1-3, 6.

       Defendants cite to Koenig v. Boulder Brands, Inc., 995 F. Supp. 2d 274 (S.D.N.Y. 2014)

and Ebin v. Kandangis Food Inc., No. 13 Civ. 2311, 2013 U.S. Dist. LEXIS 174174 (S.D.N.Y.

Dec. 9, 2013) for the proposition that privity is required in a breach of express warranty claim.



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Def. Br. 20. But Koenig and Ebin are outliers on this specific issue and their reasoning is seldom

adopted. See Weisblum at 295 (declining to follow Koenig and explaining “courts have held that

a plaintiff need not be in privity with a defendant to bring such a [express warranty] claim based

on misrepresentations contained in public advertising or sales literature”). In addition, in Ebin,

the court did not consider any authority concerning the label and advertising issue. See also

Mahoney at 19 (declining to follow Koenig); Sitt at 52 (declining to follow Koenig and Ebin); In

re Santa Fe Nat. Tobacco Co. Mktg. & Sales Practices & Prods. Liab. Litig., No. MD 16-2695

JB/LF, 2017 U.S. Dist. LEXIS 210549, at *338 (D.N.M. Dec. 21, 2017) (finding “The Court of

Appeals of New York has concluded that privity is not required against a manufacturer or the

advertiser for economic loss.” and declining to follow Koenig and Ebin).

       Since privity is not a requirement of plaintiff’s express warranty claim, that claim should

not be dismissed.

   B. Plaintiff’s Magnuson-Moss Warranty Act Claim Should Not Be Dismissed

       Defendant argues for dismissal of plaintiff’s Magnuson-Moss Warranty Act claim on

three grounds: First, that the representations at issue do not constitute “warranties” under the

MMWA; second, that plaintiff is not in privity with Weleda; and third, plaintiff has not pleaded

the $25 amount in controversy requirement under 15 U.S.C. § 2310(d)(3). Each of these

arguments fails.

       First, defendant claims that the representations on its products do not meet the definition

of a warranty under 15 U.S.C. 2301(6)(A). This may be true, but an alternative ground is

available. Although the MMWA provides a federal class action remedy for express and implied

breach of warranty claims, it “merely incorporates and federalizes state-law breach of warranty

claims”. Brady at 234 (citations and quotations marks omitted). “[C]laims under the Magnuson-


                                                 17
Moss Act stand or fall with [plaintiffs’] express and implied warranty claims under state law.

Therefore, th[e] disposition of [] state law warranty claims determines the disposition of the

Magnuson-Moss Act claims.” Abraham v. Volkswagen of Am., Inc., 795 F.2d 238, 249 (2d Cir.

1986) (holding that state law governs implied warranty claims under the MMWA); see also Diaz

v. Paragon Motors of Woodside, Inc., 424 F. Supp. 2d 519, 540 (E.D.N.Y. 2006) (holding that a

breach of express warranty under the MMWA is coextensive with New York State law). See

also Sitt at 57 (denying motion to dismiss MMWA claim where plaintiff stated an express

warranty claim); Brady at 235 (same); Def. Br. 22 (arguing “derivative” MMWA must fail).

       Under New York law, any “affirmation of fact or promise made by the seller to the buyer

which relates to the goods and becomes part of the basis of the bargain creates an express

warranty." Frito-Lay at 84 (citing N.Y.U.C.C. Law § 2-313(1)(a)). The terms “natural” and

“Certified Natural” are such “affirmations of fact.” In Frito-Lay, the court agreed with the

reasoning in Vicuna v. Alexia Foods, Inc., No. 11-CV-6119, 2012 U.S. Dist. LEXIS 59408 at *6

(N.D. Cal. Apr. 27, 2012), which held that an “All Natural” designation was a “statement of fact”

about the product and constituted an express warranty. Similarly, in Ault v J.M Smucker Co.,

2014 U.S. Dist. LEXIS 67118 (S.D.N.Y. May 15, 2014), the court held that a representation

relative to whether a product is “natural” constitutes “an actionable warranty” and that “a buyer

may bring a claim against a manufacturer from whom he did not purchase a product directly,

since an express warranty may include specific representations made by a manufacturer in its

sales brochures or advertisements.” Id. at *20-21. Since plaintiff’s representations constitute an

express warranty under New York law, they also constitute one under the MMWA.




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         Second, Weleda argues that because of the privity requirement, plaintiff’s express

warranty claim fails under New York law. However, as discussed in Section VI. A., supra,

privity is not a required element of Plaintiff’s breach of express warranty claim.

       Third, Defendant also argues that the MMWA claims must be dismissed because plaintiff

has not alleged that the products cost more than $25 as required by 15 U.S.C. § 2310(d)(3).

Defendant asserts that this true “even in a putative class action.” Def. Br. at 22. However, the

Class Action Fairness Act, as pleaded in Mr. Hughes’ complaint (AC ¶ 28), provides an

independent basis for jurisdiction. “Consistent with every Court of Appeals to address the issue

and the vast majority of district courts…where the jurisdictional prerequisites of CAFA are

satisfied, [a court] may exercise subject-matter jurisdiction over a claim under the MMWA

without regard for whether the jurisdictional prerequisites of that statute are also met.”

Weisblum v. Prophase Labs, Inc., 88 F. Supp. 3d 283, 295 (S.D.N.Y. 2015). Accordingly, the

$25 requirement is not a barrier to jurisdiction.

       Plaintiff’s Magnuson-Moss Warranty Act claims should not be dismissed.

   C. Plaintiff Withdraws His Implied Warranty Claims

       Plaintiff acknowledges that Weleda has the better of the argument on his implied

warranty claims under New York law and withdraws that claim.

VII.       PLAINTIFF HAS STANDING TO SEEK INJUNCTIVE RELIEF
       There is a split of authority in the Second Circuit on whether a plaintiff in a consumer

class action has standing to seek injunctive relief to correct misleading product labels and

representations. Some courts reason that since the plaintiff knows about the misrepresentations,

he or she is in no danger of being deceived in the future and lacks standing. See Kommer v.

Bayer Consumer Health, 252 F. Supp. 3d 304, 310 (S.D.N.Y. 2017) (“[A]bsent contrary

guidance from the Supreme Court or the Second Circuit, precedent requires the Court to

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conclude that Plaintiff has no standing to seek injunctive relief.”); Reid v. GMC Skin Care USA

Inc., No. 8:15-CV-277 (BKS/CFH), 2016 U.S. Dist. LEXIS 14001, at *17-18 (N.D.N.Y. Jan. 15,

2016) (collecting cases); Nicosia v. Amazon.com, Inc., 84 F. Supp. 3d 142, 158 (E.D.N.Y. 2015).

       Courts concluding that standing exists generally reason that the inability to rely on the

labels in the future constituted a threat of harm, or on the grounds that a contrary holding would

mean no one would ever have standing to pursue injunctive relief. See In re Amla Litig., No. 16-

cv-6593, 2017 U.S. Dist. LEXIS 175950, at *40 (S.D.N.Y. Oct. 24, 2017) (“Plaintiffs cannot

trust that the advertising on those products is accurate absent specific injunctions ordering

defendants not to engage in false or misleading advertising and not to place products on the

market without claim substantiation, or, indeed, as long as this harmful product remains on the

shelves.”); Goldemberg v. Johnson & Johnson Consumer Cos., Inc., 317 F.R.D. 374, 397-98

(S.D.N.Y. 2016) (following Belfiore and finding plaintiffs' statements that they would buy

products again if they were properly labeled sufficient for standing); Belfiore v. Procter &

Gamble Co., 94 F. Supp. 3d 440, 445 (E.D.N.Y. 2015) (Weinstein, J.) ("Federal courts have held

that plaintiffs have standing to seek injunctive relief based on the allegation that a product's

labeling or marketing is misleading to a reasonable consumer, because to hold otherwise would

effectively bar any consumer who avoids the offending product from seeking injunctive relief.");

Ackerman v. Coca-Cola Co., No. 09 CV 395, 2013 U.S. Dist. LEXIS 184232, at *56 (E.D.N.Y.

July 17, 2013) ([T]o hold otherwise would effectively bar any consumer who avoids the

offending product from seeking injunctive relief.”).

       The Second Circuit has not spoken on this issue, but the Ninth Circuit recently has. Like

the Second Circuit, there was a similar (“dramatic”) split on the issue in the Ninth Circuit, which

the court squarely addressed:



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                  Today, we resolve this district court split in favor of plaintiffs seeking injunctive
                  relief. We hold that a previously deceived consumer may have standing to seek an
                  injunction against false advertising or labeling, even though the consumer now
                  knows or suspects that the advertising was false at the time of the original
                  purchase, because the consumer may suffer an "actual and imminent, not
                  conjectural or hypothetical" threat of future harm.

Davidson v. Kimberly-Clark Corp., 873 F.3d 1103, 1115 (9th Cir. 2017). The court reasoned that

“Knowledge that the advertisement or label was false in the past does not equate to knowledge

that it will remain false in the future. In some cases, the threat of future harm may be the

consumer's plausible allegations that she will be unable to rely on the product's advertising or

labeling in the future, and so will not purchase the product although she would like to.” 7

         That is exactly the posture in which Mr. Hughes finds himself with respect to Weleda

products. He has alleged:

                  If the Products were actually “Certified Natural” and/or “Natural”, as represented
                  on the Products’ label, Plaintiff would purchase the Products in the immediate
                  future.

Comp. ¶ 31; and:

                  Plaintiff would purchase the Products again if the ingredients were changed so
                  that they indeed were “Certified Natural” and/or “Natural”.
Comp. ¶ 48.


         Indeed, it was the absence of such an allegation that supported some Second Circuit

district courts’ findings that Article III standing did not exist. See, e.g., Albert v. Blue Diamond

Growers, 151 F. Supp. 3d 412, 417-18 (S.D.N.Y. 2015) (holding that the plaintiffs, who did not



7
  Although Davidson was decided under California law, the reasoning applies to this case. New York’s GBL § 349,
if anything, is broader in scope than California’s Unfair Competition Law. See James v. Penguin Grp. (USA) Inc.,
No. 13 Civ. 2801, 2014 U.S. Dist. LEXIS 50769, at *28 (S.D.N.Y. Apr. 11, 2014) (“New York's highest court
endorsed a broad reading of the GBL § 349…. It stated that GBL § 349 "on [its] face appl[ies] to virtually all
economic activity[] and [its] application has been correspondingly broad.") (quoting Karlin v. IVF America, Inc., 93
N.Y.2d 282, 712 N.E.2d 662, 665 (N.Y. 1999); id. at *17 (“The UCL is a broad statute that prohibits business
practices that constitute “unfair competition” which is defined as an unlawful, unfair, or fraudulent act, as well as an
act of false advertising.”).

                                                          21
allege they would purchase the deceptive product in the future, did not have standing to seek

injunctive relief); In re Avon Anti-Aging Skincare Creams & Prods. Mktg. & Sales Practices

Litig., No. 13-CV-150, 2015 U.S. Dist. LEXIS 133484, at *8 (S.D.N.Y. Sept. 30, 2015) (finding

that because the plaintiffs failed to allege a risk of future harm, "they lack[ed] standing to seek a

forward-looking injunction"); Nicosia at 158 (“Plaintiff does not allege that he intends to

purchase the [product] again in the future.”); Tomasino v. Estee Lauder Cos., 44 F. Supp. 3d 251,

256 (E.D.N.Y. 2014) (“[Plaintiff] demonstrated that she is, in fact, unlikely to purchase ANR

products again.”). Accordingly, even under the reasoning of some of the New York district

courts on the “no standing” side of the Second Circuit split, Mr. Hughes might have been able to

pursue injunctive relief.

        Since many New York district courts have found standing, some of the ones which did

not may have done so given Mr. Hughes’ allegations, and the Ninth Circuit resolved its intra-

Circuit split clearly in favor of finding standing, the weight of authority favors Mr. Hughes.

VIII.    CONCLUSION
        For the reasons stated above, Weleda’s motion should be denied in its entirety.

Dated: Poughkeepsie, New York
        February 28, 2018
                                                               Respectfully submitted,

                                                                    /s/ Adam R. Gonnelli
                                                       By: ________________________________
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